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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Southern District
                                             __________ District of
                                                                 ofIndiana
                                                                    __________


                     William Barnhouse                         )
                             Plaintiff                         )
                                v.                             )      Case No. 1:19-cv-00958-TWP-DLP
                    City of Muncie, et al.                     )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Gordon Watters.                                                                                               .


Date:          05/13/2019                                                             /s/ Katlyn M. Christman
                                                                                         Attorney’s signature


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                                CERTIFICATE OF SERVICE

 I hereby certify that on May 13, 2019, the foregoing APPEARANCE OF COUNSEL was
 electronically filed with the Clerk of the Court using the CM/ECF system, which will send
 notification of such filing to the following CM/ECF participants:

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 Manual Notice:

 None.

                                           /s/ Katlyn M. Christman
 19-05-13 Appearance KMC 7152
